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DECLARATION OF TOR EKELAND

Under 28 U.S.C. §1746 (2), I declare the following under the penalty of perjury:

1, My name is Tor Ekeland.
2. Tama Managing Partner at Tor Ekeland Law PLLC.
3. Our offices are located at the following address:

30 Wall Street
8" Floor
New York, NY 10005

4. My office phone number is (718) 737-7264.
5. My email is tor@torekeland.com.

6. Tam in good standing as a member of the State Bar of New York
and have never been disciplined.

7. My bar number is 4493631.
8. Iam admitted to practice in the following Courts:

a) United States Court of Appeals for the Second Circuit

b) United States Court of Appeals for the Third Circuit

¢) United States Court of Appeals for the Fifth Circuit

d) United States Court of Appeals for the Ninth Circuit

e) New York State Court, Second Judicial Department

f) United States District Court for the District of Colorado

g) United States District Court for the Eastern District of New
York

h) United States District Court for the Southern District of New
York

i) United States District Court for the Northern District of New
York

j) United States District Court for the Eastern District of Texas

k) United States District Court for the Southern District of
Texas

9, This ts the first time I have moved to appear pro hac vice in this
Court.
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March 9, 2022

Te Ht.

Tor Ekeland
NYS Bar #: 4493631

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Attorney for Defendant
Roman Sterlingov
